                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON


Civil Action:          20-cv-03501-RBJ                     Date: September 21, 2021
Courtroom Deputy:      Julie Dynes                         Court Reporter: Sarah Mitchell

                Parties                                                Counsel

 LIBERTY GLOBAL INC                                                 Rajiv Madan
                                                                   Gregory Tamkin
                          Plaintiff

 v.

 USA                                                               Jennifer Golden
                                                                    Tomas Sawyer
                       Defendant



                                      COURTROOM MINUTES


TELEPHONE STATUS CONFERENCE

Court in Session: 8:31 a.m.

Appearance of counsel – all participants appear via telephone.

Discussion held on discovery and claims in the case.

ORDERED: Summary judgment motion due October 22, 2021, with a limit of 25 pages,
         response brief due on or before December 22, 2021, with a limit of 25 pages,
         reply brief due on January 24, 2022, with a limit of 15 pages.

               Oral argument is scheduled for February 25, 2022, at 1:30 p.m.

               Discovery partially stayed until the legal issue is decided, as outlined on the
               record.

Discussion held on statute of limitations.
ORDERED: Bench trial is VACATED and reset for October 31, 2022, at 9:00 a.m.

Court in Recess: 9:43 a.m.      Hearing concluded.       Total time in Court: 01:12
